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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Minnesota Life Insurance Company,                              Civil No. 03-4383 (DWF/SRN)
Advantus Capital Management, Inc.,
and Securian Financial Group, Inc.,

                        Plaintiffs,

v.                                                               ORDER FOR DISMISSAL
                                                                     WITH PREJUDICE
AXA Investment Managers,
Frederick "Fritz" Feuerherm, and Wayne
Schmidt,

                        Defendants.

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Daniel L. Scott, Esq., David M. Wilk, Esq., Lawrence R. King, Esq., Sarah L. Beuning,
Esq., and Stephen P. Laitinen, Larson King; and Kathleen M. Mahoney, Esq., Nash Finch
Company, counsel for Plaintiffs.

Gregory G. Pinski, Esq., Connor Shannon & Pinski PLLP; and Quentin R. Wittrock,
Esq., Dean A. LeDoux, Esq., counsel for Defendant AXA Investment Managers.

Courtland C. Merrill, Esq., Richard T. Ostlund, Esq., and Mary L. Knoblauch, Esq.,
counsel for Defendants Frederick "Fritz" Feuerherm and Wayne Schmidt.
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        Pursuant to the Stipulation of the parties (Doc. No. 436) and Rule 41 of the

Federal Rules of Civil Procedure,

        IT IS HEREBY ORDERED that the above-entitled action be, and hereby is,

DISMISSED WITH PREJUDICE and on the merits, and without costs or

disbursements to either party.

Dated: October 5, 2005                  s/Donovan W. Frank
                                        DONOVAN W. FRANK
                                        Judge of United States District Court
